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                                                     Attorneys for Plaintiff

                                   :
JOHNNIE BEMBRY                     :                   CAMDEN COUNTY
307 Atlantic Ave. Apt. C5          :                   LAW DIVISION
Egg Harbor, NJ 08215               :
                                   :
                      Plaintiff,   :                   No.
                v.                 :
                                   :
CHERRY, FEIGER & CHERRY, P.C d/b/a :                   JURY TRIAL OF TWELVE (12)
THE CHERRY FIRM, P.C.              :                   JURORS DEMANDED
11 East Second Street              :
Media, PA 19063                    :
                                   :                   CIVIL ACTION COMPLAINT
       And                         :
                                   :
THOMAS J. FIEGER JR, ESQUIRE       :
1703 Towne Drive                   :
West Chester, PA 19380             :
                      Defendants.  :

   I.      Parties

         1. Plaintiff, Johnnie Bembry, is an adult individual currently residing at the above

            captioned address.

         2. Defendant, Thomas J, Fieger Jr., (“Fieger”) Esquire, is a Pennsylvania licensed

            attorney. At all times material, Thomas Feiger was a licensed attorney at the

            Defendant law firm, Cherry, Fieger, and Cherry.P.C., at the above-captioned

            address. Plaintiff is asserting a professional liability claim against all Defendants.
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  II.      Jurisdiction and Venue

          3. The cause of action giving rise to the complaint occurred in Camden County, New

             Jersey.

          4. Defendants knowingly subjected themselves to the jurisdiction of Camden County,

             New Jersey.

          5. Jurisdiction and venue are therefore proper for this action in Camden County, New

             Jersey.

  III.     Operative Facts

         6. Around 2017, Plaintiff, Johnnie Bembry, was involved in a motor vehicle accident

             in which a separate vehicle crashed into the back side of Plaintiff’s vehicle at a

             speed of 90 miles per hour.

         7. As a direct and proximate result of this driver consciously disregarding Plaintiff,

             Johnnie Bembry’s safety, Plaintiff was left with injuries to his back, neck, and

             shoulder including bruises and torn muscles. The resulting injuries have caused

             consistent shoulder pain and issues with Plaintiff’s knees resulting in difficulty

             walking that is still present today.

         8. Plaintiff retained Defendants to represent Plaintiff regarding the aforesaid motor

             vehicle personal injury action.

         9. Plaintiff also inquired about whether Defendant, Fieger was licensed to practice law

             in New Jersey as this was where Plaintiff wanted the case to be brought. Defendant

             promptly informed Plaintiff that he was licensed to practice law in New Jersey.

         10. Early on in the parties’ attorney-client relationship, Defendant Fieger corresponded

             with Plaintiff after receiving documents related to Plaintiff’s case. Additionally,
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         Defendant informed Plaintiff in writing that he was working on the case, and that the

         case was progressing.

      11. Plaintiff, Johnnie Bembry, eventually stated to Defendant, Fieger that the current

         medical practice he was receiving his treatments from was making the pain in his

         back, neck, and shoulders worse. Defendant subsequently located Dr. Beatie for

         Plaintiff and helped set him up for treatment with Dr. Beatie.

      12. The treatment required Plaintiff, Johnnie Bembry, to get cortisone shots in his neck,

         back, knee, and shoulders on a consistent basis in order to alleviate the pain the

         injuries constantly caused to Plaintiff.

      13. During several treatment sessions, Dr. Beatie inquired about Plaintiff’s case to see

         how it was progressing. This led Plaintiff to check in on the status of the personal

         injury action in which Plaintiff could not get a straight answer from Defendant,

         Fieger about the status. Defendant simply stated to Plaintiff that, “the case was like

         wine and would get better with time”.

      14. After Dr. Beatie inquired about the status the case, Defendant Fieger informed

         Plaintiff, Johnnie Bembry that he should no longer see Dr. Beatie for treatment.

      15. Around 2020, Plaintiff continually attempted to contact Defendant, Fieger again to

         check on the status of the personal injury action. However, Defendant never

         answered any attempt at communication about the case, except for one

         communication in which Defendant informed Plaintiff that he would be unreachable

         for a period of time due to a vacation.
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      16. In 2020, Plaintiff was able to contact Defendant, Fieger by phone. During this call

         Defendant said that he did not know what to tell Plaintiff, but that he would try and

         reconcile the issues with the case.

      17. Plaintiff later met with Defendant, Fieger on two different occasions in which

         Plaintiff asked for a letter from Defendant to give to Dr. Beatie, describing the status

         of the case, to resume medical treatment for his injuries. However, Defendant never

         drafted or sent a letter on Plaintiff’s behalf to Dr. Beatie.

      18. Defendant Fieger also informed Plaintiff that no one would be in the firm’s office

         due to Covid-19. However, Plaintiff called on one occasion and another member of

         the firm picked up the phone, thus confirming that the members of Defendant

         Cherry, Fieger & Cherry were actually in the office when Plaintiff attempted to

         communicate.

      19. Due to lack of communication by Defendant, Fieger, Plaintiff eventually reached out

         to Defendant’s wife to see if Defendant was licensed to practice in New Jersey.

      20. Plaintiff also attempted to contact Defendant, Fieger for the personal injury action’s

         docket number to check the status of the case, but again, Defendant never returned

         any attempted communication by Plaintiff.

      21. Plaintiff eventually located the docket number on his own. Upon searching for the

         status of the case, Plaintiff realized that the case had been dismissed. However, on

         the few occurrences in which Defendant communicated with Plaintiff, he informed

         Plaintiff that the case was ongoing.

      22. After Plaintiff also discovered Defendant, Fieger was not licensed in New Jersey,

         Defendant then attempted to claim having informed Plaintiff that he was not
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          licensed to practice law in New Jersey at the outset of their attorney-client

          relationship.

       23. After Defendant, Fieger learned that Plaintiff was aware that the personal injury

          action had been dismissed and that Defendant was not licensed to practice in New

          Jersey, Defendant never returned any attempt at communication made by Plaintiff.

       24. Plaintiff contacted a separate attorney to have a letter sent to Dr. Beatie stating that

          this attorney now represented Plaintiff and to inform him of the situation to receive

          further pain management treatment. However, Dr. Beatie informed Plaintiff that this

          letter was not enough to resume treatment. Therefore, Plaintiff still attends work

          each week despite suffering through neck, back, knees, and shoulder pain, as well

          as, walking issues without receiving any form of medical treatment for his injuries.

                                           COUNT I
 LEGAL MALPRACTICE/ SIMPLE NEGLIGENCE/ PROFESSIONAL NEGLIGENCE

       25. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

          herein.

       26. At all times material, Defendants breached their duty of care to Plaintiff, acting

          negligently, recklessly, and carelessly, and in the following regards, respectively:

              a. Defendants misrepresented his ability to practice law in New Jersey.

              b. Defendants misrepresented to Plaintiff that the case was progressing leading

                    to Plaintiff’s inability to receive medical treatment.

              c. Defendants failed to communicate on numerous occassions with Plaintiff.

              d. Defendants failed to prosecute Plaintiff‘s case, causing the case to be

                    dismissed.

              e. Defendants failed to act in the best interest of Plaintiff.
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                f. Defendants failed to provide appropriate and necessary legal advice and

                      services.

                g. Other conduct that deviated from the applicable standard of care.

        27. As set forth above and at all times material, Defendants failed to possess and/or

            exercise the ordinary skill, knowledge and care normally possessed and exercised by

            members of good standing in the legal profession.

        28. As a direct and proximate result of Defendants’ negligence, carelessness and

            recklessness, Plaintiff suffered actual loss.

       WHEREFORE, Plaintiff demands judgment in their favor and against Defendants,

individually, jointly and/or severally, in an amount in excess of fifteen thousand dollars

($15,000.00), including punitive damages, and further relief as this Honorable Court deems

necessary and just, including attorney’s fees and costs.

                            COUNT II
   BREACH OF CONTRACT/ COVENANT OF GOOD FAITH AND FAIR DEALING

        29. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

            herein.

        30. Defendants’ aforementioned conduct constitutes a breach of the fee and other

            agreements, and the covenant of good faith and fair dealing, express, implied, and as

            a matter of law.

        31. As a direct and proximate result of the aforesaid breach of the agreement, Plaintiff has

            been damaged as set forth above.

       WHEREFORE, Plaintiff demands judgment in their favor and against Defendants,

individually, jointly and/or severally, in an amount in excess of fifteen thousand dollars

($15,000.00), including punitive damages, and further relief as this Honorable Court deems
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necessary and just, including attorney’s fees and costs.

                                       COUNT III
                               BREACH OF FIDUCIARY DUTY

         32. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

            herein.

         33. Plaintiff and Defendants were in a fiduciary relationship.

         34. Defendants’ aforementioned conduct constitutes a breach of that fiduciary

            relationship.

         35. As a direct and proximate result of the aforesaid breach of fiduciary duty, Plaintiff

            has been damaged (as set forth above).

       WHEREFORE, Plaintiff demands judgment in their favor and against Defendants,

individually, jointly and/or severally, in an amount in excess of fifteen thousand dollars

($15,000.00), including punitive damages, and further relief as this Honorable Court deems

necessary and just, including attorney’s fees and costs.

                                        COUNT IV
                                   BREACH OF CONTRACT

         36. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

            herein.

         37. Plaintiff and Defendants entered into a contract for legal services.

         38. Defendants' aforementioned conduct constitutes a breach (express, implied, or as a

            matter of law) of that agreement to provide competent and effective legal services,

            as well as a breach of the covenant of good faith and fair dealing.

         39. As a direct and proximate cause of the aforesaid (incorporated by reference),

            Plaintiff has been damaged (as set forth above).
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        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants,

individually, jointly and/or severally, in an amount in excess of fifteen thousand dollars

($15,000.00), including punitive damages, and further relief as this Honorable Court deems

necessary and just, including attorney’s fees and costs.


                                        CERTIFICATION

        DAVID A. BERLIN, ESQUIRE, of full age, certifies:

1.      I am a member of the firm of Weisberg Law and I am entrusted with the preparation and

trial of this case.

2.      This case is not the subject of any other court action or arbitration proceeding.

3.      I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.


                            DESIGNATION OF TRIAL COUNSEL

        Plaintiff hereby designates David A. Berlin, Esquire, as trial counsel with regard to the

above matter.

                                    JURY TRIAL DEMAND

        Plaintiff hereby demands a Jury Trial of Twelve (12) Jurors.




Respectfully Submitted,

WEISBERG LAW                                          SCHHAFKOPF LAW, LLC

BY: /s/ Matthew Weisberg                              BY: /s/Gary Schafkopf
MATTHEW B. WEISBERG, ESQ                              GARY SCHAFKOPF, ESQ.
DAVID BERLIN, ESQ

DATED: 1-26-22                                        DATED: 1-26-22
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                        Civil Case Information Statement
Case Details: CAMDEN | Civil Part Docket# L-000221-22

Case Caption: BEMBRY JOHNNIE VS CHERRY, FEIGER                   Case Type: PROFESSIONAL MALPRACTICE
& CHE RRY                                                        Document Type: Complaint with Jury Demand
Case Initiation Date: 01/26/2022                                 Jury Demand: YES - 12 JURORS
Attorney Name: GARY SCHAFKOPF                                    Is this a professional malpractice case? YES
Firm Name: SCHAFKOPF LAW, LLC                                    Related cases pending: NO
Address: 11 BALA AVE                                             If yes, list docket numbers:
BALA CYNWYD PA 190043201                                         Do you anticipate adding any parties (arising out of same
Phone: 6106645200                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Bembry, Johnnie
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Johnnie Bembry? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Other(explain) ATTORNEY/CLIENT
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

01/26/2022                                                                                          /s/ GARY SCHAFKOPF
Dated                                                                                                            Signed
